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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :       Chapter 11
                                                               :
                                      1
ORION HEALTHCORP, INC.,                                        :       Case No. 18-71748 (AST)
                                                               :
                  Debtors.                                     :       Jointly Administered
---------------------------------------------------------------x
                                                               :
HOWARD M. EHRENBERG IN HIS CAPACITY :                                Adv. Pro. No. 20-08048 (AST)
AS LIQUIDATING TRUSTEE OF ORION                                :
HEALTHCORP, INC., ET AL,                                       :
                                                               :
                  Plaintiff,                                   :
                                                               :
         vs.                                                   :
                                                               :
ELIZABETH KELLY,                                      :
                                                               :
                  Defendant.                                   :
---------------------------------------------------------------x

             PLAINTIFF’S OPPOSITION TO MOTION OF ELIZABETH KELLY
                    TO DISMISS COMPLAINT; MEMORANDUM OF
                  POINTS AND AUTHORITIES IN SUPPORT THEREOF




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Orion Healthcorp, Inc. (7246); Constellation Healthcare Technologies, Inc. (0135); NEMS Acquisition,
LLC (7378); Northeast Medical Solutions, LLC (2703); NEMS West Virginia, LLC (unknown); Physicians Practice
Plus Holdings, LLC (6100); Physicians Practice Plus, LLC (4122); Medical Billing Services, Inc. (2971); Rand
Medical Billing, Inc. (7887); RMI Physician Services Corporation (7239); Western Skies Practice Management, Inc.
(1904); Integrated Physician Solutions, Inc. (0543); NYNM Acquisition, LLC (unknown) Northstar FHA, LLC
(unknown); Northstar First Health, LLC (unknown); Vachette Business Services, Ltd. (4672); Phoenix Health, LLC
(0856); MDRX Medical Billing, LLC (5410); VEGA Medical Professionals, LLC (1055); Allegiance Consulting
Associates, LLC (7291); Allegiance Billing & Consulting, LLC (7141); New York Network Management, LLC
(7168). The corporate headquarters and the mailing address for the Debtors listed above is 1715 Route 35 North,
Suite 303, Middletown, NJ 07748.


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        Plaintiff, Howard M. Ehrenberg (“Trustee” or “Plaintiff”), liquidating trustee of the

jointly administered bankruptcy estates of Orion HealthCorp., Inc. (“Orion”) and Constellation

Healthcare Technologies, Inc. (“CHT” collectively, the “Debtors”), hereby oppose Defendant

Elizabeth Kelly’s Motion to Dismiss Complaint (the “Motion”), filed by defendant Elizabeth

Kelly (“Defendant”).

        PLEASE TAKE NOTICE that, pursuant to the Stipulation For Briefing Schedule (ECF

No. 25), any reply to this Opposition must be filed with the Court and served on counsel to the

Liquidating Trustee not later than November 2, 2022.

        In support of its Opposition, the Committee respectfully states as follows:

                             MEMORANDUM OF POINTS AND AUTHORITIES
                                                 I.

                                  PRELIMINARY STATEMENT


        1.       In the period immediately leading up to the present bankruptcies, the Debtors were

victims of multiple deliberate schemes by non-party directors and executives. These schemes

obligated the Debtors to undertake fictitious acquisitions in order to plunder the Debtors of their

value while simultaneously saddling them with insurmountable debt. (Complaint, ECF No. 1

(“Complaint”), ¶14)
        2.       These wrongful acts were directed and executed by CHT’s Chief Executive Officer,

Paul Parmar (“Parmar”), its Chief Financial Officer Sam Zaharis (“Zaharis”), and its Controller

Ravi Chivukula (“Chivukula”) and ultimately caused the insolvency of the Debtors. Id. ¶ 13. By

July 2018, all Debtors had filed their respective Chapter 11 bankruptcy cases. Id. ¶ 3.

        3.       The Complaint alleges facts that have been substantiated in various adversaries to

date: that Parmar, Zaharis and Chivukula, occupying positions of access and control as officers

and directors of the Debtors, operated in combination with one another to create fictitious business
entities, balance sheets, documents, and sham acquisitions in an effort to divert monies of the


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Debtors for improper purposes such as to enrich themselves, family and associates.                            The

mechanism they employed was various off-balance sheet accounts and a Wells Fargo IOLA

account (“IOLA Account”) overseen by its lawyers Robinson Brog, Leinwand, Greene, et al.

(“Robinson Brog”) which the Debtors controlled and which included commingled funds. The

Complaint alleges that on March 10, 2017, the NYNM Acquisition, which is the subject of the

present adversary proceeding, was yet another fraudulent transaction arranged by Parmar and

company such that funds could be diverted through the IOLA account to defraud creditors. The

Complaint outlines the transaction and identifies the payments with particularity.

        4.       Defendant’s thirty-five (35) page Motion is premised on a single flawed contention:

the documentary evidence which the Defendant attaches, namely the Membership Purchase

Interest Agreement (“MIPA”) and assorted escrow agreements2 are “undisputed” and their terms

mandate the Court immediately dismiss the adversary proceeding. In other words, Defendant

contends that her version of the facts are right, and the Trustee’s are wrong. Defendant contends

that she was not an officer or an insider of the Debtors, owed no duties to the Debtors, the Debtors

did not have an interest in the Transfers or control the IOLA Account, and the IOLA Account did

not contain commingled funds. Defendant contends that her various affirmative defenses can be

summarily adjudicated on a motion to dismiss without affording the Plaintiff the chance to conduct

discovery, thus depriving Plaintiff of the right to object to her proof of claim wherein she
“estimates” she is owed in excess of forty-nine million dollars. Defendant will have ample

opportunity to litigate her version of the merits based on the facts, but at this stage the Complaint

is properly pled, as are the theories of liability stating a plausible right to recovery.

        5.       There is no basis to dismiss the Complaint at this stage as to the First Claim For

Relief, as the intent of the Transferor, Parmar and the Debtors, not the transferee, is the proper

focus in pleading a claim for an intentional fraudulent conveyance under both federal and state

law. The documents Defendant attached to her Motion prove exactly what the Complaint alleges,

2
  The Motion also makes the outlandish assertion that the Defendant’s documents submitted “are not in dispute with
respect to their accuracy”. (Motion, p. 9)

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Parmar and his confederates defrauded creditors by preparing fictitious contracts and documents

for the present transaction. The second MIPA which states that the acquisition was for $29.5MM,

not $22MM as asserted by Defendant, confirms Plaintiff’s pleading of fraud is accurate. Similarly,

the Transfers are months later than what was called for under any alleged escrow agreements and

only discovery will determine what occurred. At present, the First Claim is not only plausible, but

apparent on the face of the documents.

          6.       There is no basis to dismiss the Second Claim For Relief, as the acquirer was a

fictitiously created entity and the Defendant an insider who received millions of dollars in the

months and weeks prior to March 16, 2018 (the “Petition Date”).3 The Complaint properly pleads

that the Defendant received a constructively fraudulent transfer as it is what the Debtors received

in exchange for the Transfers, not what the Defendant gave as argued in the Motion. The issue of

insolvency is a question of fact. However, in New York, if an insider receives payments when

judgment creditors existed who were not paid as of the Petition Date, as in the present case, NY

Debt & Cred. Law (“NYDCL”) §273-a, presumes the debtor was insolvent. The claim is well

pled.

          7.       There is no basis to dismiss the Third Claim For Relief as even if Defendant was

entitled to receive the Transfers, it would still be a preferential transfer unless the Defendant can

prove an applicable affirmative defense. It is not the Plaintiff’s burden to plead, let alone disprove,
an unpled affirmative defense.

          8.       The Fourth and Eighth Claims For Relief are dismissed or abandoned. Plaintiff

dismissed Defendant Fidelity National Title Insurance Company in September 2020, since they no

longer held the funds in dispute.

          9.       There is no basis to dismiss the Fifth Claim For Relief as 11 U.S.C. § 550 is

adequately pled and consistent with the recovery of avoidable transfers. If the Defendant desires

to waive her defenses that issue has no bearing on the adequacy of the pleading.


3
    New York Network Management, LLC (“NYNM”) filed its petition months later on July 5, 2018.

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        10.      The Sixth Claim For Relief is well pled as Claim Number 10044 filed by Defendant

(the “Filed Claim”) is nothing more than an estimate of damages. Speculative damage claims are

properly subject to objection as are filed claims refuted by the Debtors’ books and records. The

Defendant is sued for numerous causes of action and the Filed Claim properly subject to objection

until the demanded sums are returned to the Trust. As a contested matter, the parties will have the

opportunity to conduct discovery and an evidentiary hearing.

        11.      There is no basis to dismiss the Seventh Claim For Relief seeking to subordinate

the Filed Claim as allegations of fraud committed by Defendant need not be pled. Inequitable

conduct, including lawful conduct that is nevertheless contrary to equity and good conscience, is

sufficient grounds to subordinate a claim especially involving transfers to an insider. The

Complaint properly pleads Defendant’s lack of good faith and harm committed to the Debtors and

unsecured creditors.

        12.      Lastly, there is no basis to dismiss the Ninth Claim For Relief for breach of

fiduciary duty as the Defendant owed fiduciary duties to NYNM as its Chief Executive Officer

and managing member and breached those duties when she completely failed to conduct any

reasonable diligence or oversight of NYNM. As a result of the abdication of her fiduciary duties,

Defendant allowed the CEO of CHT, and others working with him, to effectively loot the company.

This caused NYNM to take on debts that could not have been paid, to the detriment of their
creditors, ultimately resulting in the current bankruptcy. Moreover, Defendant’s poor management

of NYNM resulted in substantial lost revenue and failure to meet the growth rates anticipated.

                                                 II.

                FACTUAL BACKGROUND ALLEGED IN THE COMPLAINT

A.      Third Amended Joint Plan of Liquidation, Creation of the Liquidation Trust and
        Judgment Creditors
        13.      The Complaint alleges Plaintiff is the Liquidating Trustee under the Liquidation

Trust Agreement, created according to the Third Amended Joint Plan of Liquidation (the “Plan”).
(Complaint, ¶¶1, 5) The Liquidation Trust was created specifically to make distributions to


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Allowed Claims and Allowed Interests (Complaint ¶5) and pursue causes of action for their benefit

(Complaint ¶6). According to the Plan, the secured lenders maintained an allowed claim for the

deficiency they were owed in excess of $100MM. (See Request for Judicial Notice (“RJN”), Plan,

Ex. 7, p.3; Bankruptcy Schedules, Ex. 9) All of the Transfers alleged in the Complaint were made

within one-year of the Petition Date, i.e. between March 20, 2017 and January 26, 2018.

(Complaint ¶¶3, 4, 19, 20)

        14.      On December 16, 2015, a final judgment was issued against the Debtor Orion

Healthcorp, Inc. in the United States District Court for the Southern District of Texas in excess of

$200,000. (the “McBride Judgment”) The proof of claim was filed in the Debtors’ bankruptcy

cases and remains unsatisfied. (See RJN, Final Judgment, Ex. 2)

        15.      On March 9, 2016, a lawsuit was initiated in the Supreme Court of the State of New

York by Criterions, LLC, against Debtors Physician Practice Plus, LLC and Constellation

Healthcare Technologies, Inc. (See RJN, Summons, Ex. 3) Judgment was entered on November

30, 2017, against the Debtors Physician Practice Plus, LLC and Constellation Healthcare

Technologies, Inc. in the amount of $77,767.26 (the “Criterion Judgment”). (See RJN, Judgment,

Ex. 4) On March 23, 2018, a Suggestion of Bankruptcy was filed by Debtors Physician Practice

Plus, LLC and Constellation Healthcare Technologies, Inc. Supreme Court of the State of New

York. (See RJN, Ex. 5)
        16.      On January 30, 2017, the Credit Agreement with Bank of America (“BOFA”) was

executed by all of the Debtors as secured by all of the Debtors’ assets wherein BOFA advanced to

the Debtors up to $145MM in debt to fund the Go-Private Transaction. (See Declaration of J.

Nolan (the “Dec. of J. Nolan”), Ex. E, Credit Agreement dated January 30, 2017). BOFA and the

borrowers are the largest unsecured creditors in the bankruptcy case. (See RJN, Ex. 9)

B.      Fraud Committed By the Former Executives of the Debtor
        17.      The Debtors, and namely Parmar, Zaharis, and Chivukula, who occupied positions

of access and control as officers and directors of the Debtors, operated in combination with one
another to create fictitious business entities and documents and to create sham acquisitions in an

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effort to divert money of the Debtors and enrich themselves and their colleagues. (Complaint ¶14)

The trio fabricated companies, acquisitions and documents in an effort to deceive and defraud

creditors of the estate. (Complaint, ¶17) In 2018, a grand jury sitting in the District of New Jersey

issued an indictment finding probable cause that the executives conspired to commit fraud by

fabricating companies and falsifying transactions between 2015 and September 2017, including

those relating to the Go-Private Transaction. (RJN, Indictment, Ex. 8) The “Go-Private

Transaction” referred to a domestic merger transaction occurring on January 30, 2017 where the

company was taken private and approximately $130MM in debt was borrowed by the Debtors

from BOFA. (RJN, Indictment, Ex. 8, p. 3) Parmar and company moved monies from their

fraudulent conduct through the IOLA Account which they controlled. (Complaint, ¶13) The

off-balance sheet accounts and IOLA Account were utilized to divert monies, conceal transactions,

and maintain the appearance the Debtors were solvent. (Complaint ¶¶13, 14, 17)

C.       The NYNM Acquisition, Multiple Purchase Agreements and the IOLA Account
         18.     On or about March 10, 2017, the Debtors acquired NYNM from selling members

owning NYNM, which included Defendant (“NYNM Acquisition”). (ECF No. 13, ¶16, Ex. 2)

Prior to the NYNM Acquisition, Defendant was the majority owner, managing member, and Chief

Executive Officer of NYNM. (Complaint, ¶15)

         19.      On March 9, 2017, the day before the deal closed, Parmar incorporated NYNM
Acquisition, LLC. (RJN, Ex. 1) Pursuant to the Membership Interest Purchase Agreement

(“MIPA”), entered into on March 10 2017, the sum of $15,589,500 in cash was paid to Defendant

for the total acquisition price of $22,000,000. (Complaint, §16; See MIPA; Dec. of J. Nolan, Ex.

A) The MIPA identified NYNM Acquisition, LLC as the buyer. However, a second MIPA was

also entered into on March 10 2017, for the total acquisition price of $29,500,000. (Dec. of J.

Nolan; See MIPA #2, Ex. B) Contradicting both of these agreements, the beneficiaries of the deal

represented to Judge Toussaint of the New York State Supreme Court, Kings County, that the

NYNM Acquisition was consummated for $32,000,000. (See RJN, Order to Show Cause, Ex. 6,
p. 2)

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        20.      Parmar and his confederates improperly utilized the IOLA Account for their

business, litigation and private affairs. (Complaint ¶13) The Debtors and Parmar controlled the

IOLA Account which included commingled funds directed by Debtors’ executives to obfuscate

their dealings and defraud creditors. (Complaint ¶17; See Dec. of J. Nolan, Parmar email attached

as Ex. D) The Transfers of multiple millions of dollars at issue in the Complaint were made out

of the IOLA Account. (Complaint, Ex. A)

D.      The Employment and Consulting Agreements
        21.      Around the same time as the NYNM Acquisition, Defendant entered into an

employment agreement with NYNM. (ECF No. 13, ¶6, Ex. 9) As Defendant acknowledges in her

Motion, the Employment Agreement provides that Defendant will “serve as the Chief Executive

Officer of” NYNM. Id. ¶ 6, Ex. 9 at Section 1.A. (emphasis added.) The Employment Agreement

also states that “[t]he duties to be performed by the Executive shall be commensurate with

Executive’s position [of CEO].” Id. ¶ 6, Ex. 9 at Section 1.C. (emphasis added.) Moreover, under

a section entitled “Loyalty and Diligence,” Defendant was required to “exercise [her]

commercially reasonable best efforts to promote the success of the Company Group and to

discharge [her] duties and responsibilities in a commercially reasonable manner.” Id. ¶ 6, Ex. 9 at

§2.

E.      Defendant Breached the Fiduciary Duties Owed Debtors in Her Post-Acquisition
        Operation of NYNM
        22.      Defendant, acting in her capacity as Managing Member and CEO of NYNM,

breached the duties she owned NYNM and its investors, by operating and managing NYNM in an

unreasonable way and making decisions that had no viable business reasons. (Complaint, ¶¶ 18.

64) As a consequence of these actions, NYNM’s monthly billing and revenue diminished

drastically between March 2017 and June 2018. Id. NYNM’s poor performance further failed to

match the growth rates anticipated at the time of the NYNM Acquisition. Id. Following these

failures, Defendant abruptly resigned in June 2018, shortly before NYNM commenced its
bankruptcy in July 2018. (Complaint, No. 1 ¶ 18)


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F.      Defendant Continues to Serve as the Managing Member and CEO of NYNM
        Following the NYNM Acquisition
        23.      Following the NYNM Acquisition, Defendant continued to serve as the Managing

Member and CEO of NYNM. To be sure, in the summer of 2017, Parmar introduced Defendant

to others as the “CEO of NYNM.” (See Dec. of J. Nolan, email attached as Ex. F). The Defendant

was similarly holding herself out as CEO, including in her email signature block her title of

“CEO/President” of NYNM. (See Dec. of J. Nolan, email attached as Ex. G). In September 2017,

Defendant criticized an IT Manager for attempting to work with NYNM’s IT company without

her permission as CEO. (See Dec. of J. Nolan, email attached as Ex. H) (“Please provide me with

a request and understanding of why you are contacting NYNM’s IT company without the CEO

and NYNM’s permission.”).

        24.      Defendant also verified and acknowledged that she was the CEO and Managing

Member of NYNM after the NYNM Acquisition. On or about February 1, 2018, Defendants

children, Kevin and Edel Kelly, filed an Amended Complaint against NYNM and Defendant

seeking damages for failure to pay sums owed as a result of their pre-acquisition minority

ownership of NYNM. (See RJN, Ex. 10). These damages included wrongfully withheld dividend

payments and amounts due as a result of the NYNM Acquisition. Paragraph 6 of the Amended

Complaint alleged:

              Elizabeth [Kelly] is the Managing Member and Chief Executive
              Officer of NYNM, a medical service organization which owns and
              operates independent practice associations in conjunction with insurers.
Id. ¶ 6. (emphasis added.)

        25.      On or about February 20, 2018, Defendant filed her verified Answer to the Amended

Complaint. (RJN, Ex. 11). As to Paragraph 6 quoted above, Defendant “admit[ed] the allegations

as set forth” therein without qualification. Id., p. 1. Defendant also attached to her Answer a

notarized Verification, wherein she stated:



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              I am the Managing Member of the Defendant, [NYNM]. . . I have read
              the foregoing Answer and Counterclaim and I know the contents thereof.
              The same are true and correct to my knowledge, except as to the matters
              alleged on information and belief, and to those matters, I believe them to
              be true.
Id., p. 14. (emphasis added.)

        26.      As these statements make clear, Defendant was, by her own admission, the

Managing Member and CEO of NYNM at the relevant times alleged in the Complaint.

Consequently, Defendant’s attempts to disavow these facts in the Motion should be rejected by

this Court.

G.      Defendant’s Filed Claim
        27.      On July 2, 2018, Defendant filed a proof of claim for $49,659,099, where she

identified herself as a creditor of the Debtors and claimed she was damaged (a) based on her

revenue projections and calculation of damages in year one of $9,017,034 and (b) based off her

estimate of revenue projections for year two of $38,803,403. (Complaint ¶¶21, 22)

                                                  III.

      THE MOTION DOES NOT MEET THE REQUIREMENTS TO DISMISS THE

        COMPLAINT UNDER RULE 12 BASED ON THE SUFFICIENCY OF THE

                                           PLEADINGS

        28.      In the Second Circuit, as elsewhere, motions to dismiss are greatly disfavored and
rarely granted. Gilligan v. Jamco Development Corp., 108 F.3d 246, 249 (9th Cir. 1997);

Freudenberg v. E*Trade Fin. Corp., 712 F. Supp. 2d 171, 179 (S.D.N.Y 2010); Johnsrud v.

Carter, 620 F.2d 29, 33 (3d Cir. 1980) (A motion to dismiss under Rule 12(b)(6) is disfavored

because it seeks to prevent a claimant to offer evidence in support of its claim). The United States

Supreme Court has articulated that a complaint may not be dismissed under Rule 12(b)(6) "unless

it appears beyond doubt that the plaintiff can prove no set of facts in support of his claim which

would entitle him to relief." Conley v. Gibson, 355 U.S. 41, 45-46, 78 S. Ct. 99 (1957) (emphasis

added); Parks School of Business v. Symington, 51 F.3d 1480, 1484 (9th Cir. 1995). In deciding
a motion to dismiss pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, “[t]he issue

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is not whether a plaintiff will ultimately prevail but whether the claimant is entitled to offer

evidence to support the claims . . .” Todd v. Exxon Corp., 275 F.3d 191, 198 (2d Cir. 2001)

(citation omitted).      Accordingly, courts “accept the complaint’s factual allegations and all

reasonable inferences that can be drawn from those allegations in the plaintiff’s favor, as true.”

Roth v. Jennings, 489 F.3d 499, 2007 WL 1629889 at *1 (2d Cir. Jun. 8, 2007). A case “should

not be dismissed unless the court is satisfied that the complaint cannot state any set of facts that

would entitle the plaintiff to relief.” Miller v. Wolpoff & Abramson, L.L.P., 321 F.3d 292, 300 (2d

Cir. 2003). On a motion to dismiss, the Court may consider:

                      (1)    the factual allegations in the complaint, which are accepted as true; (2)
                             documents attached to the complaint as an exhibit or incorporated . . .
                             by reference; (3) matters of which judicial notice may be taken; and
                             (4) documents upon whose terms and effect the complaint relies
                             heavily, i.e., documents that are “integral" to the complaint. Calcutti
                             v. SBU, Inc., 273 F. Supp. 2d 488, 498 (S.D.N.Y. 2003) (internal
                             citation omitted);
see Gillingham v. GEICO Direct, 2008 U.S. Dist. LEXIS 4169, 2008 WL 189671, at *2

(E.D.N.Y. Jan. 18, 2008) (noting that a court considering a motion to dismiss “must limit itself to

the facts stated in the complaint, documents attached to the complaint as exhibits, and documents

incorporated by reference in the complaint”). A pleading is sufficient if it provides “enough fact

to raise a reasonable expectation that discovery will reveal evidence.” Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 556 (2007) Lastly, “[t]he existence of a fiduciary duty normally

depends on the facts of a particular relationship, therefore a claim alleging the existence of a

fiduciary duty usually is not subject to dismissal under Rule 12(b)(6).” Abercrombie v. College,

438 F. Supp. 2d 243, 274 (S.D.N.Y 2006).

A.      The Complaint Satisfies Rule 7008 & 7009 Pleading Requirements
        29.      On a motion to dismiss, a claim for actual fraudulent transfer pursuant to

§ 548(a)(1)(A) or applicable State law is held to the requirements of Rule 9(b) of the Federal Rules

of Civil Procedure. Official Comm. of Unsecured Creditors of Verestar, Inc. v. Am. Tower Corp.
(In re Verestar, Inc.), 343 B.R. 444, 459 (Bankr. S.D.N.Y. 2006) citing to Picard v. Taylor (In re


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Park South Securities, LLC), 326 B.R. 505, 517 (Bankr. S.D.N.Y. 2005); Sharp Int'l Corp. v. State

Street Bank & Trust Co. (In re Sharp Int'l Corp.), 281 B.R. 506, 524 (Bankr. E.D.N.Y. 2002), aff'd

on other grounds, 302 B.R. 760 (E.D.N.Y. 2003), aff'd on other grounds, 403 F.3d 43 (2d Cir.

2005). These pleading requirements, however, do not apply to claims of constructive fraudulent

conveyance under § 548(a)(1)(B) and applicable State law, because they are based on the

transferor's financial condition and the sufficiency of the consideration provided by the transferee,

not on fraud. See In re White Metal Rolling and Stamping Corp., 222 B.R. 417, 428-29 (Bankr.

S.D.N.Y. 1998) (a claim for constructively fraudulent transfer pursuant to § 548(a)(1)(B)(ii) or

applicable State law are governed by the general rules for pleading requirements of Rule 8(b)).

The remainder of the causes of action asserted in the Complaint, are governed by Notice pleading

standards of Fed. Rule 8.

         30.      Rule 7008 of the Federal Rules of Bankruptcy Procedure incorporates Rule 8 of the

Federal Rules of Civil Procedure, which requires that a complaint contain “a short and plain

statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a); Fed. R.

Bankr. P. 7008. Rule 8(a) is designed to ensure that a defendant simply has fair notice of the nature

of the claim and of the facts on which it is based. Conley, 355 U.S. at 47-48. “Effective pleading

should provide the defendant with a basis for assessing the initial strength of the plaintiff's claim,

for preserving relevant evidence, for identifying any related counter- or cross-claims, and for
preparing an appropriate answer.” Neilson v. Union Bank of California, N.A., 290 F. Supp. 2d

1101, 1148 (C.D. Cal. 2003). The guiding principle is stated in Rule 8(f): “All pleadings shall be

so construed as to do substantial justice.” Fed. R. Civ. P. 8(f); Conley, 355 U.S. at 48. Under the

federal rules the Complaint can state alternating allegations and theories of liability. See Fed. R.

Civ. P. 8(e).4

         31.      The Rule 12 pleading standards are satisfied here. The Complaint alleges detailed

facts and circumstances that, when accepted as true, establish that the Trustee is entitled to the

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 The statement in the Motion, “the Complaint cannot allege Transfers under alternating theories of liability such as
with a preferential and/or a fraudulent transfer,” is an inaccurate statement of law. (Motion, p. 11, n. 4).

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relief sought in the Complaint. The Motion cites to affirmative defenses and factual arguments

demonstrating the Defendant is aware of the issues and can prepare her answer.

B.      Arguing Facts at the Pleading Stage is Improper
        32.      It is black letter law that making factual arguments in a 12(b)(6) motion to dismiss

is improper. Cold Spring Harbor Lab. v. Ropes & Gray LLP, 840 F.Supp.2d 473, 478-479

(D. Mass. 2012). (At the motion to dismiss stage, the court may not weigh evidence or otherwise

decide which version of the facts is true). See, e.g., Acevedo v. Monsignor Donovan High Sch.,

420 F.Supp.2d 337, 342 (D.N.J. 2006) (noting that arguments that merely attack the factual

accuracy of a plaintiff's allegations are “improper arguments to support a motion to dismiss under

Rule 12(b)(6).”); Doe v. Delie, 257 F.3d 309, 313 (3d Cir. 2001) (observing that on a motion to

dismiss “[w]e must accept as true all factual allegations in the complaint,” and a defendant may

not contest these factual allegations for purposes of the motion). Master Cutlery, Inc. v. Panther

Trading Co., Inc., Slip Copy, 2013 WL 4517860, *3 (D.N.J. 2013). A motion to dismiss is not the

proper vehicle to argue one’s side of the story. See Global Network Commc'ns, Inc., v. City of N.Y.,

458 F.3d 150, 155 (2d Cir. 2006) (“[A summary judgment motion] is the proper procedural device

to consider matters outside the pleadings, such as facts unearthed in discovery, depositions,

affidavits, statements, and any other relevant form of evidence.”); Reyes v. Cty. of Suffolk, 995 F.

Supp. 2d 215, 220 (E.D.N.Y. 2014) (“Generally, when a defendant attempts to counter a plaintiff's
[c]omplaint with its own factual allegation and exhibits, such allegations and exhibits are

inappropriate for consideration by the Court at the motion to dismiss stage.”).

        33.      The Defendant attaches numerous extrinsic documents such as escrow agreements,

amended escrow agreements, banks statements, resignation letters, and the Affidavit of Defendant

in an effort to argue her version of the facts. (ECF No. 13-1) Arguing select documents and

versions of the facts is improper at the pleading stage and is not a sufficient basis to dismiss a cause

of action that is well pled.




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        1.       THE FIRST CLAIM FOR RELIEF FOR INTENTIONALLY
                 FRAUDULENT TRANSFER IS PLEAD WITH SPECIFICITY AS TO THE
                 FRAUD COMMITED BY THE TRANSFEROR
        34.      The Motion makes five arguments against the First Claim; asserting that the Trustee

lacks standing to prosecute fraudulent avoidance claims under state law as no triggering creditor

exists, the Complaint fails to allege fraud with particularity, the Complaint fails to allege

Defendant’s bad intent, and the IOLA account contained funds not controlled by the Debtors and

which the Debtors had no legal, equitable or possessory right. The Complaint adequately pleads

each element.

                 a.          The Complaint States Facts Evidencing the Trustee Can Step Into the
                             Shoes of Numerous Confirmed Unsecured Claimants
        35.      Pursuant to 11 U.S.C. § 544(b), the Trustee may utilize state fraudulent conveyance

law to avoid a transfer if there exists an actual unsecured creditor who could void the transfer under

applicable law. Babitt v. Schwartz (In re Lollipop, Inc.), 205 B.R. 682, 687 (Bankr. E.D.N.Y.,

1997) citing to Young v. Paramount Communications. Inc. (In re Wingspread Corp.), 178 B.R.

938, 945 (Bankr. S.D.N.Y.), aff'd, 186 Bankr. 803 (S.D.N.Y. 1995). To establish a predicate

creditor, “the creditor need not have reduced his claim to a lien or judgment.” 9281 Shore Rd.

Owners Corp. v. Seminole Realty Corp. (In re 9281 Shore Rd. Owners Corp.), 187 B. R. 837, 852

(Bankr. E.D.N.Y. 1995). ). The existence of filed unsecured claims is sufficient to allow the

Trustee to assume the position of any one of them. In re Leonard, 125 F.3d 543, 544 (7th Cir.
1997) At the motion to dismiss stage, the Trustee need not identify in the complaint a single

unsecured claimant, but rather, must only plead facts from which it can be plausibly concluded

there is at least one legitimate creditor of the estate. Mendelsohn v. Kovalchuk (In re APCO Merch.

Servs.), 585 B.R. 306, fn. 11 (Bankr. E.D.N.Y, 2018) The Complaint properly pleads the facts for

the existence of numerous unsecured creditors which the Trustee can step in to represent and

prosecute the present adversary proceeding.

        36.      The Complaint alleges Plaintiff is the Liquidating Trustee under the Liquidation
Trust Agreement, created according to the Plan. (Complaint ¶¶1, 5) The Liquidation Trust was


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created specifically to make distributions to Allowed Claims and Allowed Interests (Complaint,

¶5) and pursue causes of action for their benefit (Complaint ¶6). The Plan confirmed the existence

of allowed deficiency claims which deficiency claims were scheduled as unsecured claims in the

bankruptcy cases. (See RJN, Ex. 7, p. 3) The BOFA claim was created as a result of a Credit

Agreement which was executed by all of the Debtors as part of the Go-Private Transaction. (See

Dec. of J. Nolan, Credit Agreement dated January 30, 2017, Ex. E) BOFA and the borrowers are

the largest unsecured creditors in the bankruptcy case with allowed deficiency claims in the amount

of $107,612,342.74 as stated in the Plan (See RJN, Ex. 7, Plan, p. 3).

        37.      Additionally, judgment creditors existed years prior to the NYNM Acquisition.

The McBride Judgment and Criterion Judgment are both the result of litigation filed in 2015 and

2016, and which resulted in judgments against the Debtors that were unsatisfied as of the Petition

Date. Numerous unsecured claimants exist to act as a triggering creditor for this adversary

proceeding.

                 b.          The Complaint Properly States the Fraudulent Circumstances
                             Surrounding the Debtors’ Usage of the IOLA Account, the Creation
                             of Fictitious Corporate Entities Without Operations, and the
                             Fraudulent Intent of Parmar Which is Present with the NYNM
                             Acquisition
        38.      A Plaintiff has no obligation to prove his/her entire case in the pleading stage. Wang

v. Bethlehem Cent. Sch. Dist., 2022 U.S. Dist. LEXIS 140153, 89 (Bankr. N.D.NY, 2022) “In
alleging fraud or mistake, a party must state with particularity the circumstances constituting the

fraud or mistake.” See Official Comm. of Unsecured Creditors of Verestar, Inc. v. Am. Tower Corp.

(In re Verestar, Inc.), 343 B.R. 444, 459. A “strong inference" of fraud may be established by

alleging facts showing either (1) a “motive and opportunity to commit the fraud”; or (2) “strong

circumstantial evidence of conscious misbehavior or recklessness.” Employees' Ret. Sys. of Gov't

of the Virgin Islands v. Blanford, 794 F.3d 297, 306 (2d Cir. 2015) (securities law); see also

Adelphia Recovery Trust v. Bank of Am., N.A., 624 F. Supp. 2d 292, 308 (S.D.N.Y. 2009) (applying
“motive and opportunity” test to the pleading of a § 548 claim). A court properly takes into


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consideration a more liberal approach when construing allegations of actual fraud pled by a trustee,

because "a trustee is an outsider to the transaction who must plead fraud from second-hand

knowledge." Picard v. Taylor (In re Park S. Sec., LLC), 326 B.R. 505, 517-18 (Bankr. S.D.N.Y.

2005); In re O.P.M. Leasing Servs., Inc., 35 B.R. 854, 862 (Bankr. S.D.N.Y. 1983) aff'd in part,

rev'd in part on other grounds, 48 B.R. 824 (S.D.N.Y. 1985). Whether a conveyance is fraudulent

under Section 548(a)(1)(A) is determined by reference to the intent of the debtor-transferor in

making the transfer; "the state of mind of the transferee is irrelevant." Picard v. Merkin (In re

Bernard L. Madoff Inv. Secs. LLC), 2011 U.S. Dist. LEXIS 97647, p. 12 (S.D.N.Y. 2011) citing

to Christian Bros. High Sch. Endowment v. Bayou No Leverage Fund, LLC (In re Bayou Group,

LLC), 439 B.R. 284, 304 (S.D.N.Y. 2010). Similarly, the weight of legal authority in New York

interpreting NYDCL §276 finds that §276 also focuses on the fraudulent intent of the transferor,

not the transferee. Id at p. 12-13. (The Second Circuit has stated that "[t]o prove actual fraud under

NYDCL § 276, a creditor must show intent to defraud on the part of the transferor. Where actual

intent to defraud is proven, the conveyance will be set aside regardless of the adequacy of the

consideration given." Sharp, 403 F.3d at 56 (quoting HBE Leasing Corp. v. Frank, 61 F.3d 1054,

1059, fn. 5 (2d Cir. 1995).

        39.      The Complaint properly that Parmar, Zaharis, and Chivukula, who occupied

positions of control as officers and directors of the Debtor, had the motive and opportunity to create
fictitious business entities, fictitious documents, and sham acquisitions in an effort to divert monies

of the Debtors to enrich themselves. (Complaint ¶14) Fabrication of companies and falsification

of documents, in an effort to deceive and defraud creditors of the estate, is evidence of an intent to

defraud. See United States v. Maciejewski, 70 F. Supp. 2d 129, 134 (Bankr. N.D.N.Y, 1999) (false

statements and misrepresentations in documents evidence of an intent to defraud). The illicit

transactions utilized the Robinson Brog Wells Fargo IOLA account, which Parmar and his

confederates controlled. (Complaint ¶13) This methodology was utilized to delay and defraud

creditors as it masked the outflow of funds, illusion of solvency, and obfuscated Parmar’s improper
dealings. (Complaint ¶¶17, 25)

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        40.      It is not in dispute that the Defendant and Parmar structured the NYNM Acquisition

in 2017. All of the challenged Transfers were made 6 months after the acquisition while Defendant

and Parmar were operating the Debtors. The Trustee was appointed after executives resigned

leaving the Trustee and creditors to step in and figure out what occurred. The Trustee properly

pleads the circumstances of the fraud stepping into a transaction as a non-party.

        41.      The documents presented now include two signed MIPA agreements allegedly

governing the NYNM Acquisition and three prices: $22MM, $29.5MM, and $32MM. The

Complaint has pled the circumstances, individual actors involved, motive, opportunity and the

involvement of yet another fictional entity. The Complaint need not plead Defendant’s intentional

conduct into the fraud at this juncture since the transferor’s intent is at issue. A motion to dismiss

requires the court to draw on its judicial experience and common sense as to whether a claim is

plausible. Ashcroft v. Iqbal, 556 US 662, 129 C. Ct. 1937, 1950 (2009) The factual assertions of

fraud in this instance is not an unfamiliar fact pattern and well-grounded in fact.5

                 c.          Defendant’s Assertion the Transfers Were Not Made From an
                             Account Controlled by the Debtors and Not “An Interest Of the
                             Debtor In Property” is a Misplaced Factual Argument
        42.      Section 541(a)(1) of the Bankruptcy Code's broad definition of "[p]roperty of the

estate" includes "all legal and equitable interests of the debtor in property wherever located or by

whomever held." (Emphasis added) 11 U.S.C. § 541(a)(1); Nisselson v. Salim (In re Big Apple

Volkswagen, LLC), 2016 Bankr. LEXIS 834, *29 (Bankr. S.D.N.Y, 2016). “The phrase 'all legal
or equitable interests of the debtor in property' has been given the broadest possible interpretation

and the term equitable interest has generally not been interpreted as limited to a debtor's equity in

property." See Brown v. Dellinger (In re Brown), 734 F.2d 119, 123 (2d Cir. 1984). Further, the

"legal or equitable interests" of a debtor have been held to encompass an interest even though such

interest is contingent. Id. Section 541(a)(3) of the Code includes within its definition of "property

5
  In the Schoor adversary proceeding, Adv. No. 8-20-08042, the Court ruled on June 3, 2021, after discovery closed
that the Trustee demonstrated by irrefutable evidence the creation of a sham transaction by Parmar and Zaharis
despite the existence of contracts and invoices which enabled the duo to improperly divert monies from legitimate
creditors of the estate.

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of the estate" any property of the debtor, or the proceeds thereof, recovered from a "custodian" of

the debtor's property.6 Id. The Motion concedes the Debtors maintained a “contingent interest”

in the escrow accounts at best and a contingent interest suffices. (Motion, p. 21) However, the

Complaint goes further, pleading the Debtors controlled the IOLA account and commingled

personal and debtor funds in the IOLA account to disguise the transactions in order to enrich

themselves, friends, family and associates. (Complaint ¶¶13, 14). The Complaint is well pled.

         43.      Defendant attacks the Complaint with the conclusory statement that the Court must

accept that the Transfers were paid in accordance with escrow agreements and must accept the

Robinson Brog IOLA account was a neutral third party escrow not controlled by the Debtors.

However, the Motion directs the Court to out of state cases where control of an account was not at

issue so Defendant can profess that it is not possible the Debtors can maintain “a legal or equitable

property interest” or “control” of the IOLA Account. Defendant cites to a group of cases in which

monies were deposited into an independent third party escrow, clearly not the fact pattern before

the Court. (Motion, p. 20) Cedar Rapids Meats, Inc. v. Hager (In re Cedar Rapids Meats, Inc.),

121 Bankr. 562 (Bankr. N.D. Iowa 1990) (under Iowa law, escrow fund established with third

party bank to guarantee payment of workers' compensation claims was not property of debtor's

estate where numerous unpaid claims pending; Dolphin Titan Int'l, Inc. v. Gray & Co., Inc. (In re:

Dolphin Titan Int'l, Inc.), 93 Bankr. 508, 510 (Bankr. S.D. Tex. 1988) (third party bank held the
Loss Fund account created by agreement between debtor and insurance carrier); In re Coco, 67

B.R. 365, 369 (Bankr. S.D.N.Y. 1986) (funds deposited into a court account)

         44.      These cases are not applicable here because the Complaint alleges that the Transfers

were (a) not placed in a third party bank account but in the Debtors’ IOLA account were it was

commingled with funds of the Debtors, and (b) the account was controlled by the Debtors.7 See


6
  Congress intended § 541(a) to be broad in scope, Whiting Pools, 462 U.S. at 205, and § 541(b) lists the items that
are specifically excluded from property of the estate. Due to the broad nature of subsection (a), anything not
specifically excluded under subsection (b) should be included as property of the estate. 5 Collier on Bankruptcy P
541.01 (15th ed. rev. 2007).
7
  See e-mail from Parmar to Robinson Brog advising them to take monies out of any escrow account and send to his
friend J. Petrozza. (Dec. of J. Nolan, Ex. D)

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Geltzer v. Barish (In re Geltzer), 502 B.R. 760, 768 (S.D.N.Y. 2013) (the broad provision, 'any

transfer of an interest in property is a transfer, includes a transfer of possession, custody or control,

even if there is no transfer of title, because possession, custody, and control are interests in

property.'" Citing to Togut v. RBC Dain Correspondent Services (In re S.W. Bach & Co.), 435

B.R. 866, 877 (Bankr. S.D.N.Y. 2010). The Complaint adequately pleads the Debtors’ control of

the IOLA account.

        45.      The Defendant argues that the MIPA and the escrow agreement are clear and

unrefuted evidence that the funds were Defendant’s such that the Debtors cannot maintain an

interest in the Transfers. But the existence of a second MIPA contradict the conclusory assertion

that the documents at issue are unrefuted. Further undermining this argument, the Transfers do not

match the conditions for distribution under the escrow agreements attached to the Motion. For

example, the third escrow agreement (ECF No. 13-5) states any sums would be paid prior to

April 10, 2017, and the Transfer of $2MM identified in the Complaint was made on October 12,

2017. According to the first escrow agreement (ECF No. 13-1) the $3.59MM was to be placed in

an interest-bearing account, not an IOLA account. Thus, even if a Rule 12(b) motion could be

supported by undisputed facts, which it cannot be, the exhibits that Defendant cites in her motion

establish the Trustee’s case, or at a minimum point to a factual dispute.

        2.       FAIR NOTICE WAS PROVIDED TO DEFENDANT OF THE FACTUAL
                 BASIS OF SECOND CLAIM FOR RELIEF OF CONSTRUCTIVELY
                 FRAUDULENT TRANSFER CLAIMS.
        46.      The Motion makes numerous arguments (two of which are duplicates from the

challenge to the First Cause of Action) asserting that the Complaint should be dismissed because

Defendant has not pled led the facts of a constructive fraud, her affirmative defenses are established

by law, the Trustee has no standing to prosecute the claims, Defendant gave adequate

consideration, and NYNM Acquisition, LLC was an operating company that was solvent. Each

argument fails under its own weight.




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                 a.          The Complaint Provides Fair Notice of the Facts to Plead
                             Constructive Fraud
        47.      New York’s constructive fraudulent transfer provisions are set out over several

sections. See N.Y. Debt. & Cred. L. §§ 273-275 (McKinney 1990). Each provision consists of

three elements: (1) a transfer (2) for less than fair consideration (3) at a time when the debtor

suffered from an adverse financial condition. The latter includes insolvency (§ 273), the inability

to satisfy a judgment rendered in a money damage action that was pending at the time of the

transfer (§ 273-a), unreasonably small capital to engage in business or transaction (§ 274), and an

intent or belief that the transferor will incur debts beyond its ability to pay as they mature (§ 275)
Nisselson v. Drew Indus.(In re White Metal Rolling & Stamping Corp.), 222 B.R. 417, 429 (Bankr.

S.D.N.Y. 1998)

        48.      While state law utilizes “less than fair consideration”, the Code sets forth “if the

debtor voluntarily or involuntarily-received less than a reasonably equivalent value.” See 11

U.S.C. § 548(b)(i). Whether the debtor received "reasonably equivalent value" for the alleged

fraudulent transfer is ordinarily a question of fact. In re Adelphia Comm. Corp., 2006 Bankr.

LEXIS 4600, 2006 WL 687153 at *11 (Bankr. S.D.N.Y. Mar. 6, 2006) (citing Satriale v. Key Bank

USA (In re Burry), 309 B.R. 130, 137 (Bankr. E.D. Pa. 2004). NYDCL §272 requires that "fair

consideration" be given in good faith. See Nisselson v. Softbank AM Corp. (In re MarketXT

Holdings Corp.), 361 B.R. 369, 398 (Bankr. S.D.N.Y. 2007). New York courts have long

recognized that where the transferee is an officer, director, or major shareholder of the transferor,

good faith is lacking as a matter of law. Id.; see also Sharp Int'l Corp. v. State St. Bank & Trust

Co., 403 F.3d 43, 54 (2d Cir. 2005); Farm Stores, Inc. v. Sch. Feeding Corp., 102 A.D.2d 249,

477 N.Y.S.2d 374 (2d Dep't 1984). When preferences are given to a debtor corporation's

shareholders, officers, or directors, such transfers are generally deemed not to be for fair

consideration and per se violations of the good faith requirement. Id. (citing HBE Leasing Corp.

v. Frank, 61 F.3d 1054 (2d Cir. 1995)




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         49.      The Complaint properly pleads the Defendant did not give the Debtors value and

the Debtors did not receive “reasonably equivalent value” for the Transfers. (Complaint, §30) The

value of what was received, if anything, or whether it was “reasonably equivalent” is a question of

fact. As alleged in the Complaint, Defendant was an officer of the NYNM and it would be unfair

and inequitable to permit insiders to pay their own debts while the corporation's assets are

insufficient to satisfy the other creditors. Farm Stores, Inc. v. School Feeding Corp., 102 A.D.2d

249, 477 N.Y.S.2d 374, 378 (N.Y. App. Div. 1984), aff'd, 64 N.Y.2d 1065, 479 N.E.2d 222, 489

N.Y.S.2d 877 (N.Y. 1985). $5MM was paid by the Debtors on the eve of the Petition Date when

monies were diverted to the IOLA Account away from unsecured creditors.(Complaint §13, 17)

Not only is the second element pled, but this 11th hour transfer to an insider creates a presumption

of a constructively fraudulent transfer.

         50.      In effect, § 273-a "substitutes the requirement of an unpaid judgment (or a pending

action) for the requirement of insolvency." Mitchell v. Lyons Prof'l Servs., Inc., No. 09 CIV. 1587

BMC, 2013 U.S. Dist. LEXIS 124937, 2013 WL 4710431, at *3 (E.D.N.Y. Sept. 1, 2013) vacated

and remanded on other grounds, Mitchell v. Garrison Protective Servs., Inc., 579 F. App'x 18 (2d

Cir. 2014); see also Dixie Yarns, Inc. v. Forman, 906 F. Supp. 929, 938 (S.D.N.Y. 1995) (“a

claimant under § 273-a need not demonstrate the insolvency of the judgment debtor.8 It is

sufficient to support the claim that the judgment has not been satisfied; and if, as here, it has not,
the question of insolvency is irrelevant to the considerations at hand.”) As set forth above, the

McBride and Criterion Judgments existed and went unsatisfied as of the Petition Date. Similarly,

the Complaint references the creation of sham acquisitions by the Debtors’ executives and

fabricating customers and income streams to inflate the value of the Debtors which led to a federal

indictment. (Complaint, 14) The indictments reference Northstar First Health, LLC, Phoenix


8
 Under N.Y. Debt. & Cred. Law § 273, there is a long-recognized presumption of insolvency where the debtor
makes a conveyance without fair consideration. Kramer v. Mahia (In re Khan), 2014 Bankr. LEXIS 4205, 41
(Bankr. E.D.N.Y, 2014) (trustee has met his burden on summary judgment and there is no genuine issue of fact
where Debtor transferred property for less than fair consideration or reasonably equivalent value, not on account of
antecedent debt, and for insider transfer), citing to Geron v. Schulman (In re Manshul Constr. Corp.), 2000 U.S.
Dist. LEXIS 12576, 2000 WL 1228866, at *53 (S.D.N.Y. Aug. 20, 2000).

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Health, LLC and MDRX Medical Billing which had no real assets or revenue. (RJN, Ex.8, p.6)

Further, the Go-Private Transaction which preceded the NYNM Acquisition by one month resulted

in the Debtors being saddled in $145,000,000 in debt for the purchase of fictitious entities. (RJN,

Ex.8, pp.4-5) There are a multitude of facts pled to state plausible claims the Debtors suffered

from an adverse financial condition at the time of the Transfers. The Complaint pleads the factual

underpinning for a constructively fraudulent transfer claim.

                 b.          The Motion’s Claim That the Transfers Were Not Made From an
                             Account Controlled by the Debtors and Not “An Interest Of the
                             Debtor In Property” is A Misplaced Factual Argument
        51.      As addressed above, the Debtors had an interest in property in the Transfers made

to Defendant.

                 c.          The Assertion That NYNM Acquisition Made the Closing Payment
                             and Was Solvent is Argument of Counsel
        52.      The Motion moves on to claim that “it is abundantly clear from the documentary

evidence that the Transfers originated from NYNM Acquisition” an entity without creditors and

which could not have been insolvent as it had no creditors. (Motion, pp. 17-18) The argument is

not only factually wrong, but disingenuous.

        53.      The Complaint alleges that the Debtors’ IOLA Account, which it controlled, was

the source of the Transfers which were identified with particularity in the Complaint. (Complaint
¶13) Defendant will have ample opportunity to prove her claim of the legitimacy of the deal and

the extensive due diligence she performed in selling her company to a fictional Parmar entity.

Defendant will have ample opportunity to submit evidence to support her contention that NYNM

Acquisition, LLC paid the Transfers. This Motion is not the proper forum for Defendant to litigate

her factual defense to the Complaint’s well pled allegations




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        3.       FAIR NOTICE WAS PROVIDED TO DEFENDANT OF THE FACTUAL
                 BASIS OF THIRD CLAIM FOR RELIEF OF AVOIDANCE OF
                 PREFERENTIAL TRANSFERS
        54.      The Motion claims the Complaint cannot state a viable Third Claim For Relief for

avoidance of a preferential transfer as the Debtors had no interest in the Transfers, Defendant was

not a creditor paid on a debt, NYNM Acquisition made the Transfers and was solvent and

Defendant has various defenses. (Motion, p. 19).

                 a.          Plaintiff has Both a Legal and an Equitable Right in the Transfers
                             and Since it Exercised Control Over the IOLA Account, Has a
                             Possessory Interest in the Transfers
        55.      As addressed above, the Debtors had an interest in property in the Transfers made

to Defendant.

                 b.          To or For the Benefit of a Creditor
        56.      Section 547(b)(1) requires that the transfer be “to or for the benefit of a creditor.”

This requirement has been loosely construed by the courts. See In re CVEO Corp., 327 B.R. 210,

214 (Bankr.D.Del.2005). The Code defines a creditor as any “entity that has a claim against the

debtor.” 11 U.S.C. § 101(10). A “claim” is defined as a “right to payment.” 11 U.S.C § 101(5)(A).

Even a contingent creditor satisfies the definition of "creditor" under the Bankruptcy Code. See

Bergner v. Bank One, N.A. (In re P.A. Bergner & Co. Holding Co.), 187 B.R. 964 (Bank. E.D.WI.

1995); see also 11 U.S.C. § 101(5). The Complaint properly pleads Defendant was a creditor and

insider of one or more of the Debtors. (Complaint ¶33) The Complaint pleads Defendant is a
creditor of the Debtors and Defendant filed a proof of claim in the Orion Healthcorp, Inc.

bankruptcy case wherein she stated she was a “Creditor” of Orion. (Complaint ¶¶21, 22, 33; Ex.

C) Defendant claims that she had a “right to payment” when she executed the MIPA. The delayed

creditor argument made in the Motion is simply wrong.

                 c.          Made For or On Account of an Antecedent Debt Owed by the Debtors
                             Before Such Transfer Was Made
        57.      Under § 547(b)(2), “a debt is antecedent if the debtor incurs it before making the
alleged preferential transfer.” See Bruno Mach. Corp. v. Troy Die Cutting Co. (In re Bruno Mach.


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Corp.), 435 B.R. 819, 837 (Bkrtcy. N.D.N.Y. 2005) citing to Creditor Trust v. Harari (In re G.

Survivor Corp.), 217 B.R. 433, 440 (Bkrtcy. S.D.N.Y. 1998). A debt is incurred when the debtor

first becomes legally obligated to pay. See Mendelsohn v. Louis Frey Co. (In re Moran), 188 B.R.

492 (Bankr. E.D.N.Y. 1995) citing to In re Pan Trading Corp., S.A., 125 Bankr. 869, 875 (Bankr.

S.D.N.Y. 1991); see In re Western World Funding, Inc., 54 Bankr. 470, 477 (Bankr. D. Nev. 1985).

Thus, the concept of a debt and a claim are coextensive under the Code, and a debtor incurs a debt

to a creditor for purposes of § 547(b)(2) as soon as the creditor would have had a claim against the

debtor's estate. Stoebner v. San Diego Gas & Elec. Co. (In re LGI Energy Solutions), 482 B.R.

809, 818 (BAP 8th Cir. 2012). The Complaint references the NYNM transaction, the obligation to

pay on March 2017, and the existence of a debt. (Complaint ¶¶16, 35) The Complaint adequately

pleads the existence of the debt antecedent to the Transfers which occurred well later in October

2017 and in 2018.

                 d.          “Made While the Debtor Was Insolvent”
        58.      The issue of solvency is a unique question of fact. In re LATAM Airlines Grp. S.A.,

2022 Bankr. LEXIS 2048, 25 (Bankr. S.D.N.Y. 2022); See Gordon v. Harrison (In re Alpha

Protective Servs.), 531 B.R. 889, 902 (Bankr. M.D. Ga. 2015) (Although the language of the

Complaint mirrors elements of § 547, the question of whether a debtor was insolvent at the time

of the payments remains a factual issue to be decided at trial or some other juncture. Citing to In
re Haven Trust Bancorp, Inc., 461 B.R. 910, 913 (Bankr. N.D. Ga. 2011). Further, the Debtor is

presumed to be insolvent in the 90 days prior to the Petition Date, or December 16, 2017. See

§ 547(f).

        59.      The Complaint alleges Parmar, Chivukula, and Zaharis created fictitious

businesses, customers, and created fake income streams to maintain the illusion the Debtors were

solvent while simultaneously diverting the Debtors’ monies to themselves, their family, and their

friends. (Complaint ¶¶14, 17) The Plan and the bankruptcy Schedules identify in excess of

$100MM in allowed unsecured debt created by the Go-Private Transaction. The Complaint pleads
facts to support a claim of insolvency.

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                 e.          That Enables Such Creditor to Receive More Than Such Creditor
                             Would Receive If—(A) the Case Were a Case Under Chapter 7 of
                             This Title; (B) the Transfer Had Not Been Made; and (C) Such
                             Creditor Received Payment of Such Debt to the Extent Provided By
                             the Provisions of This Title
        60.      By its plain language, the test set forth in § 547(b)(5) of the Bankruptcy Code is

meant to determine what a creditor would receive in a hypothetical Chapter 7 case of the debtor,

and whether such amount is more than what was actually received by the creditor through the

alleged preferential transfer. Buchwald Capital Advisors LLC v. Metl-Span I., Ltd. (In re Pameco

Corp.), 356 B.R 327, 336-337 (Bkrtcy. S.D.N.Y. 2006). As long as the distribution in bankruptcy

is less than one-hundred percent, any payment on account to an unsecured creditor during the

preference period will enable that creditor to receive more than he would have received in

liquidation. See In re Lewis H. Shurtleff, 778 F. 2d 1416, 1521 (9th Cir., 1985). The Complaint

pleads Defendant was paid more than in a Chapter 7 liquidation. (Complaint ¶38) This is sufficient.

The Motion sets forth no legal authorities to decide this factual issue as a matter of law on a motion

to dismiss.

                 f.          The Motion Gets it Wrong that Affirmative Defenses Such as a
                             Constructive Trust, Contemporaneous Exchange, or the Ordinary
                             Course of Business Defense, Can be Established on a Motion to
                             Dismiss
        61.      The burden of proving this affirmative defense to a preference claim is on the

transferee. 11 U.S.C. § 547(g). The contemporaneous exchange and ordinary course of business

defenses are affirmative defenses. 11 U.S.C. § 547(c)(1), (c)(2) The Motion claims Defendant

returned the monies in the ordinary course of business and/or the closing payments were a

contemporaneous exchange. (Motion, p. 22) However, these defenses must be pled as affirmative

defenses and supported by evidence. Sapir v. Keener Lumber Co., 143 B.R. 347, 353 (Bankr.

S.D.N.Y. 1992) For example, a contemporaneous exchange defense has 3 elements and a

conclusory statement by counsel such as, “the closing payment was a contemporaneous exchange”,

is misplaced. As noted in the legislative history, Section 547 looks to both debtor and creditor
behavior during the preference period and works to “discourage unusual action by either the debtor


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or his creditor during debtor’s slide into bankruptcy” when examining the ordinary course of

business defense. See H.R. Rep. No. 595, 95th Cong. 1st Sess. 373-74 (1977), reprinted in 1978

U.S.C.C.A.N. at 5787, 6329.        The facts surrounding the Transfer are relevant.       Similarly,

Defendant argues a constructive trust over the funds but such claim is a defense. See Miller v.

Hartford Life Ins. Co., 64 F. App'x 795, 797 (2d Cir. 2003) ("[U]nder New York law, one who

seeks to impose a constructive trust must establish the facts giving rise to that remedy by clear and

convincing evidence."). Plaintiff has no obligation to address Defendant’s unpled affirmative

defenses.

          4.     THE MOTION AS TO THE FOURTH CLAIM FOR RELIEF IS MOOT AS
                 PLAINTIFF DISMISSED FIDELITY NATIONAL TITLE INSURANCE
                 COMPANY
          62.    On September 8, 2020, a Notice of Dismissal was filed in the adversary proceeding

dismissing Defendant Fidelity National Title Insurance Company. The Fourth Claim For Relief to

which the Motion takes issue is moot. (ECF No. 18)

          5.     FAIR NOTICE TO DEFENDANT OF FACTUAL BASIS OF THE FIFTH
                 CLAIM FOR RELIEF FOR RECOVERY OF PROPERTY UNDER § 550
                 AND NY DEBT & CRED. LAW §278
          63.    Citing to inapposite law of Texas, the Motion describes the purpose of Sections 550

and NYDCL §278, and postulates that Section 550 is a “recovery statute” properly stricken from

any complaint at the pleading stage. No case instructs a court to strike a Section 550 cause of
action.

          64.    Section 550(a) of the Bankruptcy Code sets out the elements a trustee must satisfy

to recover transferred property: that the transfer was avoided and where the defendant is an initial

or subsequent transferee. Picard v. Citibank, N.A. (In re Bernard L. Madoff Inv. Secs. LLC), 12

F.4th 171, 197 (2d Cir. 2021) Section 550(b) provides an exception to the trustee's general power

of recovery under § 550(a).

          65.    The Complaint pleads actionable theories of avoidance under federal and state law

for avoidance of the Transfers, and provides adequate notice to Defendant of the cause of action.
See FBI Wind Down Inc. Liquidating Trust v. All Am. Poly Corp. (In re FBI Wind Down, Inc.),

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581 B.R. 116, 146 (Bankr. D. Del. 2018) (denial of summary judgment on Section § 550 cause of

action as material issue of fact exists) Section § 550 is clearly a cause of action available to the

Trustee. Nonetheless, if Defendant will stipulate she was the “initial transferee” of the Transfers,

Plaintiff will dismiss the Fifth Claim For Relief. Alternatively, Defendant can respond in the

Answer. Either way, the Complaint properly pleads the cause of action.

        6.       THE SIXTH CLAIM FOR RELIEF OBJECTING TO DEFENDANT’S
                 FILED CLAIM IS LEGALLY PROPER AND ALLOWS DISCOVERY TO
                 PROCEED AS A CONTESTED MATTER
        66.      The Motion misstates the basis for the Objection to the Filed Claim and the

procedure to file counter-claims. The fact that Defendant attached documents to a proof of claim

does not mean the claim must be accepted let alone accepted at claimant’s estimate of value. As

a contested adversary proceeding, the parties will have the opportunity to conduct discovery prior

to any evidentiary hearing.

        67.      Proofs of claim can be challenged by motion or by filing a complaint.

                 “An objection to a claim is a contested matter within the meaning of
              Rule 9014. When the trustee joins certain counterclaims with the
              objection, a different procedure is envisioned, particularly with respect to
              the counterclaims. Normally, a trustee’s counterclaim will be based on
              some action described in Rule 7001 and be styled as an adversary
              proceeding. Part VII of the Bankruptcy Rules govern the procedural
              elements of adversary proceedings. Should a counterclaim be based on
              one of the kinds of suits described in Rule 7001, the counterclaim must
              be asserted in the manner of a complaint to which the creditor would be
              obliged to interpose an answer. Thus, by force of Rule 3007, should the
              trustee object to a claim and at the same time assert, by way of
              counterclaim, a suit to avoid a preference, that counterclaim would be an
              adversary proceeding within the meaning of the Bankruptcy Rules. As a
              result, if a trustee wishes to assert a counterclaim with an objection to a
              claim, at least the counterclaim portions of the trustee’s proceeding must
              proceed under Rule 7001. 4 Collier on Bankruptcy P 502.02[3][b]

        68.      The filing of a complaint and an objection to claim creates a "contested matter"

under Bankruptcy Rule 9014. In re Taylor, 132 F.3d 256, 260 (5th Cir. 1998) The provisions for
formal litigation and discovery apply in a contested matter, unless the court directs otherwise. See


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Bankruptcy Rule 9014(c) Therefore, a debtor seeking more information from a creditor respecting

its proof of claim may take depositions orally or by written questions, serve interrogatories,

requests for production, and requests for admission. In re Brunson, 486 B.R. 759, 771 (Bankr.

N.D. Tex. 2013) “The effect of section 502(b)(1) is to make available to the trustee any defense

to a claim that would have been available to the debtor. For example, if a claim would be

unenforceable against the debtor or against the property of the debtor because, under applicable

non-bankruptcy law, the debtor could raise the defense of usury, fraud, lack of consideration, or

unconscionability, such defense affords the trustee a basis for the disallowance of the claim in

bankruptcy.” 4 Collier on Bankruptcy P 502.02[2][b]. Pursuant to 11 U.S.C §502(d), a claim is

also properly subject to objection if the claimant is the recipient of recoverable property by the

trustee:

                 (d) Notwithstanding subsections (a) and (b) of this section, the court
                 shall disallow any claim of any entity from which property is recoverable
                 under section 542, 543, 550, or 553 of this title or that is a transferee of a
                 transfer avoidable under section 522(f), 522(h), 544, 545, 547, 548, 549,
                 or 724(a) of this title, unless such entity or transferee has paid the
                 amount, or turned over any such property, for which such entity or
                 transferee is liable under section 522(i), 542, 543, 550, or 553 of this
                 title.

           69.      Defendant’s Claim is (a) based on revenue projections and calculation of damages

in year one of $9,017,034 and (b) based off estimated revenue projections for a calculation of
damages of $38,803,403 in year 2. (Complaint, ¶¶21, 22; Ex. C) The Objection takes issue with

Filed Claim, as the calculations are contradicted by the Debtors’ books and records which do not

support Defendant’s revenue projections and itemization of damages. (Complaint ¶47) See Brown

v. Samalin & Bock, P.C., 168 A.D.2d 531, 532, 563 N.Y.S. 2d 426 (2d Dept. 1990) (speculative

damages which are incapable of being proven with reasonable certainty properly stricken)

Similarly, the Complaint alleges Defendant received intentionally fraudulent, constructively

fraudulent and preferential transfers and breached her fiduciary duties as CEO. Each of the causes




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of action present a credible basis to strike the claim. The objections to the Filed Claim are well

pled.

         70.      The Motion directs the Court to a string of cases discussing the filing of omnibus

objection motions under Rule 9014 where the sole objection is lack of documentation. See In re

Tatro, 2015 Bankr. LEXIS 1648, *7 (W.D.N.Y. 2015) (Debtors filed an omnibus objection to 102

claims); In re Brunson, 486 B.R. 759, 762 (Bankr. N. D. Tex. 2013) (objections filed by Debtors

to every unsecured claim in case); In re Rehman, 479 B.R. 238, 239 (Bankr. D. Mass. 2012)

(omnibus objection motion filed for disallowance of 13 out of the 15 proofs of claim filed); In re

Reynolds, 470 B.R. 138, 140 (Bankr. D. Colo. 2012) (sole basis of objection to disallow claims

was failure to attach documents to proof of claims). The cases are not analogous to the present

dispute where substantive objections and causes of action are asserted in a complaint. Discovery

should go forward pursuant to Bankruptcy Rule 7000 and the Motion denied.

         7.       THE SEVENTH CLAIM FOR RELIEF TO EQUITABLY SUBORDINATE
                  DEFENDANT’S FILED CLAIM IS WELL PLED
         71.      In determining whether a claim should be equitably subordinated, many courts have

applied the three-part test set forth in In re Mobile Steel Co.: (i) the subordinated creditor must

have engaged in some type of inequitable conduct; (ii) the misconduct must have resulted in injury

to other creditors or conferred an unfair advantage on the creditor to be subordinated; and (iii)

equitable subordination of the claim must not be inconsistent with the other provisions of the
bankruptcy laws. Official Comm. of Unsecured Creditors of Verestar, Inc. v. Am. Tower Corp.

(In re Verestar, Inc.), 343 B.R. 444, 460-461 (Bankr. SDNY 2006)) citing to Benjamin v. Diamond

(In re Mobile Steel Co.), 563 F.2d 692, 700 (5th Cir. 1988). 9

         72.      The Motion contends that the Complaint must allege that Defendant committed

fraud, engaged in illegal activity, contributed to undercapitalization, improperly took monies from

Debtors or committed a foul. (Motion, p. 28) The assertion is inaccurate. Inequitable conduct


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 The third prong of the Mobile Steel test (requiring that equitable subordination be consistent with the provisions of
bankruptcy law) is of little significance today.

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encompasses conduct that may be lawful but is nevertheless contrary to equity and good

conscience. It includes a secret or open fraud, lack of good faith by a fiduciary, unjust enrichment,

or enrichment brought about by unconscionable, unjust or unfair conduct or double-dealing. In re

Lois/USA, 264 B.R. 69, 134 (Bankr. S.D.N.Y. 2002); In re Adler, Coleman Clearing Corp., 277

B.R. 520, 563 (Bankr. S.D.N.Y. 2002). Other courts have described the type of misconduct that

warrants equitable subordination as including: (i) fraud, illegality or breach of fiduciary duty; (ii)

undercapitalization of the debtor; and (iii) control or use of the debtor as a vehicle to benefit

another. In re Granite Partners, L.P., 210 B.R. 508, 514 (Bankr. S.D.N.Y. 1997); In re 80 Nassau

Assocs., 169 B.R. 832, 838 (Bankr. S.D.N.Y. 1994).

        73.      The Complaint properly pleads that Defendant owed Debtors fiduciary duties

through her roles as Managing Member and CEO. (Complaint ¶¶61, 62) Defendant breached her

duties of care, loyalty, and candor and operated the Debtors in an unreasonable manner following

her sale of the company. (Complaint ¶¶62-64) When NYNM did not perform as she projected,

rather than take appropriate action, she abruptly quit destroying its value. During this time

Defendant was an insider (Complaint ¶33) and her conduct damaged the Debtors and general

unsecured creditors. Adelphia Communs. Corp. v. Bank of Am., N.A. (In re Adelphia Communs.

Corp.), 365 B.R. 24, 69 (Bankr. S.D.N.Y. 2007) (motion to dismiss equitable subordination claims

denied as nature of underlying conduct in complaint, knowingly or recklessly assisting in loss of
value of debtors assets, will have to be fleshed out as a factual matter) The Complaint adequately

pleads a cause of action for equitable subordination of the Defendant’s filed claim.

        8.       THE MOTION CHALLENGING THE EIGHTH CLAIM FOR RELIEF IS
                 MOOT AS PLAINTIFF DISMISSED FIDELITY NATIONAL TITLE
                 INSURANCE COMPANY
        74.      On September 8, 2020, a Notice of Dismissal was filed in the adversary proceeding

dismissing the Fidelity National Title Insurance Company. (ECF No. 18) The Declaratory Relief

claim sought a determination as to funds held by Defendant Fidelity National Title Insurance

Company and ultimately their turnover. With the dismissal of Fidelity, the Trustee consents to the
withdrawal of the Eighth Claim For Relief.

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         9.       THE TRUSTEE HAS SUFFICIENTLY PLED THAT DEFENDANT WAS
                  A FIDUCIARY OF NYNM AND BREACHED HER FIDUCIARY DUTIES
         75.      “Under New York law, a claim for breach of fiduciary duty involves three elements:

(1) the existence of a fiduciary relationship, (2) the breach of the fiduciary duty and (3) damages

resulting from the breach.” Grumman Olson Indus. v. McConnell (In re Grumman Olson Indus.),

329 B.R. 411 (Bankr. S.D.N.Y 2005). A fiduciary relationship exists “when one [person] is under

a duty to act for or to give advice for the benefit of another upon matters within the scope of the

relation.” Flickinger v. Harold C. Brown & Co., 947 F.2d 595, 599 (2d Cir. 1991).10 As addressed

below, all three elements of a claim for breach of fiduciary duty are satisfied here: (1) Defendant

owed NYNM fiduciary duties through her roles as Managing Member and CEO; (2) Defendant

breached her fiduciary duties by operating NYNM in an unreasonable manner; and (3) this breach

caused NYNM damages including lost revenue and growth.

                  a.         Defendant Owed Fiduciary Duties as the Managing Member and
                             CEO of NYNM
         76.      Defendant clearly owed fiduciary duties to Debtor NYNM. “The existence of

fiduciary duties depends on the facts of a particular relationship.” Boley v. Pineloch Associates,

Ltd., 700 F. Supp. 673, 680-681 (S.D.N.Y. 1988). However, it is well-established that managers

and officers of New York limited liability companies owe fiduciary duties to the companies they

serve and their members. See, e.g., Currie v. Sanchez (In re Sanchez), No. 14-22667 (SHL), 2016

Bankr. LEXIS 3481, at *18 (Bankr. S.D.N.Y. Sept. 26, 2016) (“The Defendant was the Managing
Member and CEO of [the LLC] and was responsible for day-to-day operations. As a corporate

officer, the Defendant was a fiduciary….”); Signature Apparel Grp. LLC v. Laurita (In re

Signature Apparel Grp. LLC), No. 09-15378 (RG), 2015 Bankr. LEXIS 671, at *28 (Bankr.

S.D.N.Y. Mar. 4, 2015) (“By default, officers, directors, and members of a limited liability

company owe traditional fiduciary duties of loyalty and care to the company.”); Res. Fin. Co. &

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   See also Galvstar Holdings, LLC v. Harvard Steel Sales, LLC, 722 Fed. Appx. 12 at *15 (2d Cir. 2018) (quoting In
re Mid-Island Hosp., Inc., 276 F.3d 123, 130 (2d Cir. 2002) (“[w]hen parties deal at arm[‘]s length in a commercial
transaction” no fiduciary relationship will arise “absent extraordinary circumstances”). “In sum, ‘[a] fiduciary
relationship is necessarily fact-specific and is also grounded in a higher level of trust than normally present in the
marketplace between those involved in arm’s length business transactions.’” Galvstar Holdings, LLC, 722 Fed. Appx.
at *15.

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RFC I, LLC v. Cynergy Data, LLC, 2013 NY Slip Op 32944(U), ¶ 7 (Sup. Ct.) (“As a corporate

officer, Sy owed a fiduciary duty to MPS LLC.”).

          77.    Indeed, Defendant recognizes as much in her Motion, stating that “[a] Managing

Member or Manager of a New York limited liability company must ‘perform his or her duties as

a manager, including his or her duties as a member of any class of managers, in good faith and

with that degree of care that an ordinarily prudent person in a like position would use under similar

circumstances.’” Geltzer v. Lefkowitz (In re Kollel Mateh Efraim, LLC), 2011 Bankr. LEXIS 1566

at *15 (Bankr. S.D.N.Y. April 28, 2011) (quoting NY CLS LLC § 409(a)); see also Motion at

p. 33.

          78.    There is therefore no reasonable dispute that Defendant owed fiduciary duties since,

not only did Defendant hold herself out as the CEO of NYNM post-acquisition, Defendant verified

that she was “the Managing Member” and CEO of NYNM after the NYNM Acquisition. RJN,

Exs. 10-11; see also (Dec. of J. Nolan, Exs. F-H (emails confirming Defendant was CEO of

NYNM after the NYNM Acquisition); New York Network Management LLC v. Kevin Kelly, et al.,

Index. No. 522203/2016 (April 20, 2018) (Decision and Order) (RJN Ex. 6) p. 3 (holding that

“Elizabeth [Kelly] is the Managing Member of NYNM”). Moreover, while Defendant attempts to

draw parallels between herself and the co-defendant in Geltzer, the roles each played in

relationship to the respective companies are fundamentally distinct. In Geltzer, the trustee
contended that an LLC’s sole managing member along with his friend of “thirty years” had

“breached their fiduciary duties as Managers of the Debtor.” 2011 Bankr. LEXIS 1566 at *14. The

Court found that the friend, a Rabbi whom the managing member allowed to operate a children’s

camp as “at worst, . . . a favor,” owed no fiduciary duties to the LLC as he “was not designated as

the Manager in the Articles of Organization and no operating agreement was offered into

evidence.” Id. at *16.

          79.    In contrast, here, Defendant was the pre-acquisition principal owner, Managing

Member, and CEO of NYNM. Following the NYNM Acquisition, Defendant remained NYNM’s
CEO and, by her own verification, was NYNM’s Managing Member and CEO until at least

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February 2018. These facts are distinctly different from a rabbi operating a summer camp, which

“spent its own money to make repairs that ultimately inured to the NYNM’s benefit” as against

Defendant who not only received a salary from NYNM as CEO but also, upon information and

belief, obtained profits through the Consulting Agreement. Id. at *25.

         80.      Further, even if Defendant did not hold the titles of Managing Member and CEO

(alleged facts that the Court must treat as true for purposes of a Rule 12 motion), as Defendant

asserts in the Motion, this alleged “dispute” of fact does not absolve Defendant of her fiduciary

duties if the facts (as they are alleged in the Complaint) demonstrate that she “discharge[ed] the

duties of that office.” Brehm v. Eisner (In re Walt Disney Co. Derivative Litig.), 906 A.2d 27, 48

(Del. 2006); Greater Miami Baseball Club Ltd. P’ship. v. Selig, 171 F.R.D. 73, 78 (S.D.N.Y 1997)

(“A de facto officer is one who is in actual possession of an office under the claim or color of an

election or appointment, and is in the exercise of its functions and in the discharge of its duties”)

(internal citations omitted.) Consequently, at a minimum, the Trustee has “‘raise[d] a reasonable

expectation that discovery will reveal evidence’ of the wrongdoing alleged.” Citizens United v.

Schneiderman, 882 F.3d 374, 380 (2018) (quoting Twombly, 550 U.S. at 556, 570).11

                  b.         Defendant’s Breach of Her Fiduciary Duties Caused NYNM to Lose
                             Revenue and Inhibited Growth
         81.      As Defendant, by her own admission, has established she was a Managing Member

and CEO of NYNM and thus owed fiduciary duties to NYNM, the only remaining issues are
whether the Complaint demonstrates a breach of duties by Defendant and “clearly alleges an

injury” resulting therefrom. Winklevoss Capital Fund, LLC v. Shrem, 351 F. Supp. 3d 710, 720

(S.D.N.Y. 2019). Here, both questions are answered affirmatively. First, Defendant breached the

duties she owed NYNM and its members, by operating and managing NYNM in an unreasonable

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   Furthermore, Defendant can be held to owe NYNM fiduciary duties irrespective of whether she is deemed a
Manager of NYNM at the relevant period. For example, in Winklevoss Capital Fund, LLC v. Shrem, 351 F. Supp. 3d
710, 719-720 (S.D.N.Y. 2019), the court rejected defendant’s claim that he merely had a “conventional business
relationship” with plaintiff LLC and not one creating fiduciary duties. There, plaintiff alleged that defendant, who was
neither an employee, manager, or member of plaintiff LLC, had “undertook ‘a duty...to act primarily for the benefit’
of [plaintiff] in accepting [plaintiff’s] funds to purchase Bitcoin on its behalf.” Id. at 720. Consequently, the court
ruled that plaintiff had “adequately allege[d] a claim for breach of fiduciary duty” to survive defendant’s motion to
dismiss.

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way and making decisions that had no viable business reasons. (Complaint, ¶¶ 18, 64) Due to

these decisions and failures to act, NYNM’s monthly billing and revenue diminished drastically

between March 2017 and June 2018. Id. Moreover, NYNM’s poor performance also failed to

match the growth rates that were anticipated at the time of the NYNM Acquisition. Id. Tellingly,

Defendant fails to challenge these damages allegations in the Motion.

                                                  IV.

                                          CONCLUSION

        WHEREFORE, for all the foregoing reasons, the Trustee respectfully requests that the

Motion be denied in its entirety, and that the Defendant be ordered to file an answer within 20

days. In the event the motion is deemed granted in any form, Plaintiff should be allowed leave to

amend since no such leave to amend has been previously requested or granted. See Cortec

Indus., Inc. v. Sum Holding L.P., 949 F.2d 42, 48 (2d Cir. 1991) (In this circuit, “[i]t is the usual

practice upon granting a motion to dismiss to allow leave to replead.”; see also Fed. R. Civ. P.

15(a)(2) ("The court should freely give leave [to amend] when justice so requires.").



 Dated:     October 3, 2022                     Respectfully submitted,



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